
99 N.Y.2d 551 (2002)
In the Matter of LIJYASU M. KANDEKORE, a Disbarred Attorney, Appellant.
DEPARTMENTAL DISCIPLINARY COMMITTEE FOR THE FIRST JUDICIAL DEPARTMENT, Respondent.
Court of Appeals of the State of New York.
Submitted December 2, 2002.
Decided December 17, 2002.
*552 Motion, insofar as it seeks leave to appeal from the Appellate Division order denying reinstatement, dismissed as untimely; motion, insofar as it seeks leave to appeal from the Appellate Division order denying motions for reargument and for leave to file a supplemental petition for reinstatement, dismissed upon the ground that such order does not finally determine the proceeding within the meaning of the Constitution.
